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                                                      10                                 UNITED STATES DISTRICT COURT
                                                      11                                          DISTRICT OF NEVADA
                                                      12
             3883 Howard Hughes Parkway, Suite 1100
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                                                      13
                    Las Vegas, Nevada 89169




                                                            RICHARD ZEITLIN, ADVANCED                           Case No.: 2:18-cv-01919-RFB-CWH
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                                                            TELEPHONY CONSULTANTS, MRZ
                          702.784.5200




                                                      14
                               L.L.P.




                                                            MANAGEMENT, LLC, DONOR
                                                      15    RELATIONS, LLC, TPFE, INC.,
                                                            AMERICAN TECHNOLOGY SERVICES,
                                                      16    COMPLIANCE CONSULTANTS,
                                                            CHROME BUILDERS CONSTRUCTION,                       BANK OF AMERICA, N.A.’S ANSWER
                                                      17    INC., and UNIFIED DATA SERVICES,                    TO PLAINTIFFS’ COMPLAINT

                                                      18                            Plaintiffs,

                                                      19    v.

                                                      20    BANK OF AMERICA, N.A., and JOHN and
                                                            JANE DOES 1-100,
                                                      21
                                                                                    Defendants.
                                                      22

                                                      23            Defendant Bank of America, N.A. (“BANA”), by and through its attorneys, Snell & Wilmer

                                                      24   L.L.P., hereby responds to Plaintiffs’ Complaint dated October 5, 2018 (ECF No. 1) (the

                                                      25   “Complaint”).

                                                      26                                                INTRODUCTION

                                                      27            1.      BANA admits that this is a civil action and that Plaintiffs seek relief as alleged in

                                                      28   Paragraph 1 of the Complaint. BANA denies that Plaintiffs are entitled to the relief alleged in

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                                                       1   Paragraph 1 of the Complaint or that it acted improperly or in violation of Nevada common or
                                                       2   statutory law with respect to Plaintiffs or their bank accounts. BANA is without knowledge or
                                                       3   information sufficient to form a belief as to whether this action may be brought as a diversity action
                                                       4   as alleged in Paragraph 1 of the Complaint and therefore denies the same. With respect to the
                                                       5   allegation that this is a diversity action, BANA notes that the Complaint does not allege the
                                                       6   citizenship of each member of the LLC Plaintiffs as required to adequately allege diversity
                                                       7   jurisdiction. BANA denies the remaining allegations contained in Paragraph 1 of the Complaint.
                                                       8            2.      BANA denies the allegations contained in Paragraph 2 of the Complaint.
                                                       9            3.      BANA denies the allegations contained in Paragraph 3 of the Complaint.
                                                      10                                         JURISDICTION AND VENUE
                                                      11            4.      BANA admits that this is a civil action and that Plaintiffs seek relief as alleged in
                                                      12   Paragraph 4 of the Complaint. BANA denies that Plaintiffs are entitled to the relief alleged in
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                                                      13   Paragraph 4 of the Complaint. BANA is without knowledge or information sufficient to form a
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                                                      14   belief as to the truth of the remaining allegations contained in Paragraph 4 of the Complaint and
                               L.L.P.




                                                      15   therefore denies the same.
                                                      16            5.      BANA is without knowledge or information sufficient to form a belief as to the truth
                                                      17   of the allegations contained in Paragraph 5 of the Complaint and therefore denies the same.
                                                      18                                             THE PARTIES
                                                      19            6.      BANA is without knowledge or information sufficient to form a belief as to the truth
                                                      20   of the allegations contained in Paragraph 6 of the Complaint and therefore denies the same.
                                                      21            7.      BANA admits that its main office and principal place of business is in North
                                                      22   Carolina and that it does business in the state of Nevada. BANA denies the remaining allegations
                                                      23   contained in Paragraph 7 of the Complaint.
                                                      24                                FACTS APPLICABLE TO ALL COUNTS
                                                      25            8.      BANA is without knowledge or information sufficient to form a belief as to the truth
                                                      26   of the allegations contained in Paragraph 8 of the Complaint and therefore denies the same.
                                                      27            9.      BANA denies the allegations contained in Paragraph 9 of the Complaint.
                                                      28            10.     BANA denies the allegations contained in Paragraph 10 of the Complaint.

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                                                       1            11.     BANA denies the allegations contained in Paragraph 11 of the Complaint.
                                                       2            12.     BANA denies the allegations contained in Paragraph 12 of the Complaint.
                                                       3            13.     BANA denies the allegations contained in Paragraph 13 of the Complaint.
                                                       4            14.     BANA is without knowledge or information sufficient to form a belief as to the truth
                                                       5   of the allegations contained in Paragraph 14 of the Complaint and therefore denies the same.
                                                       6            15.     BANA denies the allegations contained in Paragraph 15 of the Complaint.
                                                       7            16.     BANA denies the allegations contained in Paragraph 16 of the Complaint.
                                                       8            17.     BANA denies the allegations contained in Paragraph 17 of the Complaint.
                                                       9            18.     BANA is without knowledge or information sufficient to form a belief as to the truth
                                                      10   of the allegations contained in Paragraph 18 of the Complaint and therefore denies the same.
                                                      11            19.     BANA is without knowledge or information sufficient to form a belief as to the truth
                                                      12   of the allegations contained in Paragraph 19 of the Complaint and therefore denies the same.
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                                                      13            20.     BANA denies the allegations contained in Paragraph 20 of the Complaint.
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                                                      14            21.     BANA is without knowledge or information sufficient to form a belief as to the truth
                               L.L.P.




                                                      15   of the allegations contained in Paragraph 21 of the Complaint and therefore denies the same.
                                                      16            22.     BANA denies the allegations contained in Paragraph 22 of the Complaint.
                                                      17            23.     BANA is without knowledge or information sufficient to form a belief as to the truth
                                                      18   of the allegations contained in Paragraph 23 of the Complaint and therefore denies the same.
                                                      19            24.     BANA denies the allegations contained in Paragraph 24 of the Complaint.
                                                      20                                          FIRST CAUSE OF ACTION
                                                      21                                           BREACH OF CONTRACT
                                                      22            25.     In response to Paragraph 25 of the Complaint, BANA repeats and re-alleges its
                                                      23   responses and denials as set forth above in this Answer.
                                                      24            26.     BANA admits that Plaintiffs entered into account agreements with respect to each
                                                      25   of the deposit agreements identified in the Complaint. BANA is without knowledge or information
                                                      26   sufficient to form a belief as to the truth of the remaining allegations contained in Paragraph 26 of
                                                      27   the Complaint and therefore denies the same.
                                                      28

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                                                       1            27.     BANA denies the allegations contained in Paragraph 27 of the Complaint and
                                                       2   respectfully refers the Court to the terms of the Deposit Agreement which speaks for itself.
                                                       3            28.     BANA denies the allegations contained in Paragraph 28 of the Complaint.
                                                       4            29.     BANA denies the allegations contained in Paragraph 29 of the Complaint and
                                                       5   respectfully refers the Court to the terms of the Deposit Agreement which speaks for itself.
                                                       6            30.     BANA denies the allegations contained in Paragraph 30 of the Complaint.
                                                       7            31.     BANA denies the allegations contained in Paragraph 31 of the Complaint.
                                                       8            32.     BANA denies the allegations contained in Paragraph 32 of the Complaint.
                                                       9            33.     BANA denies the allegations contained in Paragraph 33 of the Complaint.
                                                      10            34.     BANA denies the allegations contained in Paragraph 34 of the Complaint.
                                                      11                                    SECOND CAUSE OF ACTION
                                                      12         BREACH OF IMPLIED COVENANT OF GOOD FAITH AND FAIR DEALING
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                                                      13            35.     In response to Paragraph 35 of the Complaint, BANA repeats and re-alleges its
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                                                      14   responses and denials as set forth above in this Answer.
                               L.L.P.




                                                      15            36.     BANA denies the allegations contained in Paragraph 36 of the Complaint.
                                                      16            37.     BANA denies the allegations contained in Paragraph 37 of the Complaint.
                                                      17                                     THIRD CAUSE OF ACTION
                                                      18                  VIOLATION OF NEVADA DECEPTIVE TRADE PRACTICES ACT
                                                                                     (Nev. Rev. Stat. Ann. § 598.0903 et seq.)
                                                      19
                                                                    38.     In response to Paragraph 38 of the Complaint, BANA repeats and re-alleges its
                                                      20
                                                           responses and denials as set forth above in this Answer.
                                                      21
                                                                    39.     Answering Paragraph 39 of the Complaint, BANA affirmatively states that on or
                                                      22
                                                           about April 25, 2019, the Court dismissed this claim for relief and therefore no response is required.
                                                      23
                                                           To the extent a response is required, BANA states that Nev. Rev. Stat. Ann. § 598.0923 speaks for
                                                      24
                                                           itself and denies any allegations inconstant therewith. BANA denies the allegations contained in
                                                      25
                                                           Paragraph 39 of the Complaint to the extent they imply any wrongdoing by BANA. BANA is
                                                      26
                                                           without knowledge or information sufficient to form a belief as to the truth of the remainder of the
                                                      27
                                                           allegations contained in Paragraph 39 of the Complaint and therefore denies the same.
                                                      28

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                                                       1            40.     Answering Paragraph 40 of the Complaint, BANA affirmatively states that on or
                                                       2   about April 25, 2019, the Court dismissed this claim for relief and therefore no response is required.
                                                       3   To the extent a response is required, BANA denies the allegations contained in Paragraph 40 of the
                                                       4   Complaint.
                                                       5            41.     Answering Paragraph 41 of the Complaint, BANA affirmatively states that on or
                                                       6   about April 25, 2019, the Court dismissed this claim for relief and therefore no response is required.
                                                       7   To the extent a response is required, BANA denies the allegations contained in Paragraph 41 of the
                                                       8   Complaint.
                                                       9            42.     Answering Paragraph 42 of the Complaint, BANA affirmatively states that on or
                                                      10   about April 25, 2019, the Court dismissed this claim for relief and therefore no response is required.
                                                      11   To the extent a response is required, BANA denies the allegations contained in Paragraph 42 of the
                                                      12   Complaint.
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                                                      13            43.     Answering Paragraph 43 of the Complaint, BANA affirmatively states that on or
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                                                      14   about April 25, 2019, the Court dismissed this claim for relief and therefore no response is required.
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                                                      15   To the extent a response is required, BANA denies the allegations contained in Paragraph 43 of the
                                                      16   Complaint.
                                                      17                                    FOURTH CAUSE OF ACTION
                                                      18                                             CONVERSION
                                                      19            44.     In response to Paragraph 44 of the Complaint, BANA repeats and re-alleges its
                                                      20   responses and denials as set forth above in this Answer.
                                                      21            45.     Answering Paragraph 45 of the Complaint, BANA affirmatively states that on or
                                                      22   about April 25, 2019, the Court dismissed this claim for relief and therefore no response is required.
                                                      23   To the extent a response is required, BANA denies the allegations contained in Paragraph 45 of the
                                                      24   Complaint.
                                                      25            46.     Answering Paragraph 46 of the Complaint, BANA affirmatively states that on or
                                                      26   about April 25, 2019, the Court dismissed this claim for relief and therefore no response is required.
                                                      27   To the extent a response is required, BANA denies the allegations contained in Paragraph 46 of the
                                                      28   Complaint.

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                                                       1            47.     Answering Paragraph 47 of the Complaint, BANA affirmatively states that on or
                                                       2   about April 25, 2019, the Court dismissed this claim for relief and therefore no response is required.
                                                       3   To the extent a response is required, BANA denies the allegations contained in Paragraph 47 of the
                                                       4   Complaint.
                                                       5                                       FIFTH CAUSE OF ACTION
                                                       6                           DECLARATORY AND INJUNCTIVE RELIEF
                                                       7            48.     In response to Paragraph 48 of the Complaint, BANA repeats and re-alleges its
                                                       8   responses and denials as set forth above in this Answer.
                                                       9            49.     BANA denies the allegations contained in Paragraph 49 of the Complaint.
                                                      10            50.     BANA denies the allegations contained in Paragraph 50 of the Complaint.
                                                      11            51.     BANA admits that Plaintiffs seek relief as alleged in Paragraph 51 of the Complaint.
                                                      12   BANA denies that Plaintiffs are entitled to the relief alleged in Paragraph 51 of the Complaint and
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                                                      13   that the “Freezing Clause” is unconscionable, void as against public policy, or unenforceable.
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                                                      14   BANA denies the remaining allegations contained in Paragraph 51 of the Complaint.
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                                                      15            52.     BANA admits that Plaintiffs seek relief as alleged in Paragraph 52 of the Complaint.
                                                      16   BANA denies that Plaintiffs are entitled to the relief alleged in Paragraph 52 of the Complaint and
                                                      17   that any of Plaintiffs’ accounts remain frozen. BANA denies the remaining allegations contained in
                                                      18   Paragraph 52 of the Complaint.
                                                      19            53.     BANA denies any and all other allegations contained in the Complaint, whether
                                                      20   specifically alleged or implied.
                                                      21                                RESPONSE TO PRAYER FOR RELIEF
                                                      22            BANA denies that Plaintiffs are entitled to any actual, statutory, punitive, or exemplary
                                                      23   damages; attorneys’ fees and costs; declaratory or injunctive relief; or any other form of relief
                                                      24   against BANA as set forth in the Complaint’s prayer for relief.
                                                      25                                        AFFIRMATIVE DEFENSES
                                                      26                                      FIRST AFFIRMATIVE DEFENSE
                                                      27                                         (Failure to State a Claim)
                                                      28            Plaintiffs are barred from any recovery in this action because the Complaint fails to state a

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                                                       1   claim against BANA upon which relief can be granted.
                                                       2                                 SECOND AFFIRMATIVE DEFENSE
                                                       3                                  (Contractually Permissible Actions)
                                                       4            Plaintiffs are barred from any recovery in this action because the wrongful acts alleged in
                                                       5   the Complaint are all expressly permissible pursuant to the relevant contracts.
                                                       6                                  THIRD AFFIRMATIVE DEFENSE
                                                       7                                (Performance of Obligations by BANA)
                                                       8            Plaintiffs are barred from any recovery in this action because BANA appropriately,
                                                       9   completely, and fully performed any and all contractual, common law, statutory, and other duties
                                                      10   and obligations to Plaintiffs arising out of the matters alleged in the Complaint.
                                                      11                                 FOURTH AFFIRMATIVE DEFENSE
                                                      12                            (Non-Performance of Obligations by Plaintiffs)
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                                                      13            Plaintiffs are barred from any recovery in this action because they failed to perform their
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                                                      14   obligations under the relevant contracts.
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                                                      15                                  FIFTH AFFIRMATIVE DEFENSE
                                                      16                            (No Breach of Implied Covenant of Good Faith)
                                                      17            Plaintiffs are barred from any recovery on their cause of action for Breach of the Implied
                                                      18   Covenant of Good Faith and Fair dealing because the purported wrongdoing is an alleged violation
                                                      19   of actual terms of the relevant contracts.
                                                      20                                  SIXTH AFFIRMATIVE DEFENSE
                                                      21                            (No Breach of Implied Covenant of Good Faith)
                                                      22            Plaintiffs are barred from any recovery on their cause of action for Breach of the Implied
                                                      23   Covenant of Good Faith and Fair dealing because the purported wrongdoing was not in
                                                      24   contravention of the intention or spirit of the relevant contracts.
                                                      25                                SEVENTH AFFIRMATIVE DEFENSE
                                                      26                                        (Economic Loss Doctrine)
                                                      27            Plaintiffs are barred from any recovery on their non-contract causes of action because
                                                      28   such are barred by the economic loss doctrine.

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                                                       1                                  EIGHTH AFFIRMATIVE DEFENSE
                                                       2                                       (Pleading with Particularly)
                                                       3            Plaintiffs are barred from recovery on their claims for fraud, or sounding in fraud, because
                                                       4   Plaintiffs have failed to plead the alleged fraud with the requisite particularity.
                                                       5                                   NINTH AFFIRMATIVE DEFENSE
                                                       6                                           (Equitable Doctrines)
                                                       7            Plaintiffs are barred from any recovery in this action by the equitable doctrines of laches
                                                       8   and failure to do equity with respect to the matters alleged in the Complaint.
                                                       9                                  TENTH AFFIRMATIVE DEFENSE
                                                      10                                          (Waiver and Estoppel)
                                                      11            Plaintiffs are barred from any recovery in this action because, by reason of Plaintiffs’ acts
                                                      12   and omissions, Plaintiffs have waived their rights and are estopped from asserting claims against
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                                                      13   BANA.
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                                                      14                                ELEVENTH AFFIRMATIVE DEFENSE
                               L.L.P.




                                                      15                                                 (Bad Faith)
                                                      16            Plaintiffs are barred from any recovery in this action because they have acted in bad faith
                                                      17   with respect to the matters alleged in the Complaint.
                                                      18                                TWELFTH AFFIRMATIVE DEFENSE
                                                      19                                              (Unclean Hands)
                                                      20            Plaintiffs are barred from any recovery in this action because they have unclean hands.
                                                      21                              THIRTEENTH AFFIRMATIVE DEFENSE
                                                      22                                                 (Mootness)
                                                      23            Plaintiffs are barred from recovery to the extent any of their causes of action arise from the
                                                      24   purported failure to return funds in their bank accounts because such causes of action are moot.
                                                      25                              FOURTEENTH AFFIRMATIVE DEFENSE
                                                      26                                          (Statute of Limitations)
                                                      27            Plaintiffs’ claims are barred, in whole or in part, by the applicable statute(s) of limitations
                                                      28   and/or repose.

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                                                       1                               FIFTEENTH AFFIRMATIVE DEFENSE
                                                       2                                               (Good Faith)
                                                       3            At all times relevant to Plaintiffs’ allegations, BANA’s actions were taken in good faith, for
                                                       4   legitimate purposes, and for just cause, and at no time did BANA act wrongfully or with malice or
                                                       5   reckless indifference toward Plaintiffs’ purported rights.
                                                       6                               SIXTEENTH AFFIRMATIVE DEFENSE
                                                       7                                                 (Damages)
                                                       8            Plaintiffs have failed to allege a legally sufficient basis, in fact or in law, upon which to
                                                       9   predicate an award of punitive or exemplary damages or attorneys’ fees and costs and such damages
                                                      10   are, accordingly, not recoverable.
                                                      11                             SEVENTEENTH AFFIRMATIVE DEFENSE
                                                      12                                         (Consequential Damages)
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                                                      13            Plaintiffs seek consequential damages which do not flow reasonably or foreseeably from
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                                                      14   the alleged breaches and are accordingly not recoverable.
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                                                      15                              EIGHTEENTH AFFIRMATIVE DEFENSE
                                                      16                                  (Contractual Limitation of Liability)
                                                      17            Plaintiffs’ seek damages for special, incidental, exemplary, punitive, or consequential
                                                      18   damages which are barred by the terms of the relevant contracts and are accordingly not
                                                      19   recoverable.
                                                      20                              NINETEENTH AFFIRMATIVE DEFENSE
                                                      21                                                (Mitigation)
                                                      22            Plaintiffs failed to mitigate, minimize, or otherwise avoid their losses, damages, or
                                                      23   expenses.
                                                      24                               TWENTIETH AFFIRMATIVE DEFENSE
                                                      25                                        (Failure to Allege Diversity)
                                                      26            Plaintiffs have failed to adequately allege the Court’s diversity jurisdiction because they
                                                      27   have not alleged the citizenship of each member of the LLC Plaintiffs.
                                                      28

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                                                       1                              TWENTY-FIRST AFFIRMATIVE DEFENSE
                                                       2                                     (Additional Affirmative Defenses)

                                                       3             All possible affirmative defenses may not have been alleged insofar as sufficient facts are

                                                       4    not available after reasonable inquiry upon the filing of Plaintiffs’ Complaint. Therefore, BANA

                                                       5    reserve the right to amend this Answer to allege additional affirmative defenses and claims,

                                                       6    counterclaims, crossclaims, or third-party claims, as applicable, upon further investigation and

                                                       7    discovery.

                                                       8             WHEREFORE, having fully defended, BANA, prays for the following relief:

                                                       9             A.      That the Complaint be dismissed with prejudice, and that Plaintiffs take nothing

                                                      10    thereby;

                                                      11             B.      That BANA be awarded its costs and attorneys’ fees as allowed by law; and

                                                      12             C.      For such other and further relief as the Court deems just and proper.
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                                                      13             DATED this 10th day of May 2019.
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                                                      14                                                   SNELL & WILMER L.L.P.
                               L.L.P.




                                                      15

                                                      16                                               By: /s/ Blakeley E. Griffith
                                                                                                          Amy F. Sorenson, Esq.
                                                      17                                                  Nevada Bar No. 12495
                                                                                                          Blakeley E. Griffith, Esq.
                                                      18                                                  Nevada Bar No. 12386
                                                                                                          Kiah D. Beverly-Graham, Esq.
                                                      19                                                  Nevada Bar No. 11916
                                                                                                          3883 Howard Hughes Parkway, Suite 1100
                                                      20                                                  Las Vegas, NV 89169
                                                      21                                                   Attorneys for Defendant Bank of America, N.A.
                                                      22

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                                                       1                                        CERTIFICATE OF SERVICE
                                                       2             I certify that on this day a copy of the foregoing was served by the Court’s CM/ECF system
                                                       3    on counsel of record for all parties to this action.
                                                       4        DATED: May 10, 2019.
                                                       5

                                                       6                                                              /s/ Lara J. Taylor
                                                                                                                      An employee of Snell & Wilmer L.L.P.
                                                       7

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